

People v Snyder (2025 NY Slip Op 02545)





People v Snyder


2025 NY Slip Op 02545


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025

PRESENT: WHALEN, P.J., BANNISTER, GREENWOOD, NOWAK, AND HANNAH, JJ. (Filed Apr. 25, 2025.)


KA 24-00286.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vHEATH SNYDER, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Judgment unanimously affirmed. Counsel's motion to be relieved of assignment granted (see People v Crawford , 71 AD2d 38 4th Dept [1979]). (Appeal from Judgment of Erie County Court, James F. Bargnesi, J. - Attempted Burglary, 3rd Degree).








